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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 CHRISTOPHER HIRAM CANO,                                       :
                                                               :
                                              Plaintiff,       :
                                                               :      19 Civ. 1640 (LGS)
                            -against-                          :
                                                               :            ORDER
                                                               :
 CITY OF NEW YORK, et al.,                                     :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on August 6, 2020, Defendants filed a letter motion to file their August 6,

2020, status letter under seal (Dkt. No. 84), and a separate letting motion requesting a renewal of

the three-month stay in the case (Dkt. No. 85). It is hereby

        ORDERED that the August 6, 2020, status letter and letter motion at Dkt. No. 85 shall

be filed under seal. Only Christopher Hiram Cano, Nicolette Pellegrino, the City of New York,

New York City Health and Hospitals Corporation, Correctional Officers Chisolm, Santiago,

Murray, and Captains Robinson and Charles shall have access to Dkt. No. 85. It is further

        ORDERED that Defendants’ request to renew the stay for an additional three months is

GRANTED. The parties shall continue to submit a joint status letter every thirty days,

following the most recent August 6, 2020, status letter. The letters shall update the Court on (1)

the status of the ruling concerning the Notification of Fitness to Proceed, (2) Plaintiff’s

scheduled criminal court appearances, and other relevant matters. It is further

        ORDERED that if, at any point during the next three months, Plaintiff is deemed

mentally competent and fit to proceed by the state criminal court, Defendants shall immediately

inform the Court, with an explanation of why the stay should or should not be lifted.
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       The Clerk of Court is respectfully directed to close the motions at Docket Nos. 84 and 85,

to mail a copy of this Order to pro se Plaintiff and replace the address on the docket with the

following:

       Christopher Hiram Cano
       Rose M. Singer Center
       19-19 Hazen Street
       East Elmhurst, New York 11370

Dated: August 7, 2020
       New York, New York




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